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IN THE UNITED sTATES DlsTRICT COURT '~’/O`O \
FOR THE wEsTERN DISTRICT or TENNESSEE § ,_ ply QQ
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sANDRA K. wEBB and ) ft/M,-,UQ?/
TABITHA N. wEBB, ) ‘""Hy /?/
)
Plaintiff, )
)
vs. ) No. 05-1183 T/An
)
sTATE oF TENNESSEE, )
)
Defendant. )

 

ORDER DENYING MOTION TO RECUSE

 

Before the Court is Plaintiffs’ Motion for Change of Venue filed on July 5, 2005. Within
the Motion to Change Venue is a Motion for the Undersigned to recuse himself from this matter.
The Court held a hearing on this matter on August 2, 2005. At the hearing, Plaintiffs announced
that they were withdrawing their request that the Undersigned recuse himself; therefore, the
l\/lotion to Recuse is DENIED as moot.

Prior to the announcement that they were withdrawing the motion, the Court examined
Plaintift`s. Plaintiff Sandra Webb (“Ms. Webb”) stated that she contacted an attorney by
telephone who was briefly associated with the law firm formerly owned by the Undersigned
(“Anderson Law Firm, PLLC”), and Ms. Webb requested information and advice concerning a
lawsuit that was pending in late 1999 or early 2000 in which she was a defendant However, Ms.
Webb did not employ the attorney and subsequently retained an attorney not associated with

Anderson Law Firm, PLLC to represent her in the matter. ln that the Undersigned has no

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recollection of the attorney ever discussing Plaintiffs’ matter with him and has no independent
knowledge or information about the matter, there is no basis from which an objectively
reasonable person would conclude that the Undersigned could not discharge his duties in this
matter in a fair and impartial manner. Therefore, recusal is not appropriate in this situation

lT IS SO ORDERED.

_S.%,H dfw

S. THOMAS ANDERSON
UNITED STATES MAGlSTRATE JUDGE

Date: /,MZMJ{' OJ’,. 2003/

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CV-01188 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Jacl<son7 TN 38302

Sandra K. Webb
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Honorable J ames Todd
US DISTRICT COURT

